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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

SAMA CAMP, LLC,               )
                              )
     Plaintiff,               ) CIVIL ACTION
                              )
v.                            ) FILE NO.: 1:22-cv-01722-TCB
                              )
SAMA TEA, LLC; SAMA           )
WORLDWIDE, INC.;              )
SAMA BEVERAGES, LLC; 100.CO; )
JAY SHETTY; RADHI DEVLUKIA )
SHETTY, KIM PERELL; and JAMES )
BRENNAN                       )
                              )
     Defendants.              )

       DEFENDANT’S MEMORANDUM OF LAW IN OPPOSITION
       TO PLAINTIFF’S MOTION TO DISMISS COUNTERCLAIM

      Defendants Sama Tea, LLC, Sama Beverages, Inc., and Sama Worldwide,

Inc. now known as Tea Worldwide (collectively, “Tea Worldwide” or

“Defendant”) submits this Memorandum of Law in support of its Opposition to

Plaintiff’s Motion to Dismiss Counterclaim (the “Motion”), showing the Court as

follows:

                              INTRODUCTION

      For months Defendant Tea Worldwide has asked Plaintiff to produce

documents or other evidence showing how, when, and where it has used the Sama
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mark in commerce so that Defendant could evaluate the merits of Plaintiff’s

claims, but Plaintiff has refused, stating that those are issues for discovery. Thus, in

formulating its answer and counterclaim, the only evidence Tea Worldwide could

rely upon is information found in public sources.

      So, what does that information show? Namely, no evidence that Plaintiff

has continuously used the Sama mark in commerce for all the classifications of

goods and services for which the USPTO granted it the registered trademark.

Instead, the public record shows that Plaintiff was administratively dissolved from

the period of August 26, 2019 through July 12, 2021, which was months after

Defendant instituted Cancellation Proceeding No. 92077032 in the United States

Trademark Trial and Appeal Board (the “Board”) on April 29, 2021, to cancel the

Plaintiff’s registration. Further, when a google search for “Sama food for balance”

is conducted, this “hit” is returned showing the business is closed:




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 And its undisputed that Plaintiff no longer operates from its place of business

 located at 56 E Andrews Dr NW Suite 17, Atlanta, GA 30305.

       Yet, rather than voluntarily responding to Defendants request for proof of

 continued use of the Sama mark, Plaintiff seeks to dismiss Defendant’s

 Counterclaim on highly technical but flawed arguments that Defendant has not

 pled its counterclaim with sufficient specificity. Plaintiff parses Defendant’s

 allegations in the hopes of convincing the Court the allegations are deficient. They

 are not, and Defendant has sufficiently pled a claim for cancellation based on both

 abandonment and fraud grounds. Given the posture of this case (Plaintiff’s motion

 was filed before the commencement of discovery), the Court should deny the

 Motion to Dismiss such that the parties can develop their claims and defenses

 through the discovery process. If the evidence is insufficient at the close of

 discovery, then Plaintiff can always move for summary judgment.

               ARGUMENT AND CITATION TO AUTHORITY

I.     Defendant’s Counterclaim for Trademark Cancellation Satisfies the
       Federal Pleading Standards.

       Tea Worldwide’s allegations in the Counterclaim not only meet, but exceed,

 the pleading threshold of Federal Rule of Civil Procedure 8(a)(2), which “requires

 only a short and plain statement of the claim showing that the pleader is entitled to

 relief in order to give the defendant fair notice of what the claim is and the grounds
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upon which it rests.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)

(quoting Conley v. Gibson, 355 U.S. 41, 47, 78 S.Ct. 99 (1957)). It is well-settled

in this circuit that upon consideration of a Rule 12(b)(6) motion to dismiss, the

pleadings are to be construed broadly and in a light most favorable to the plaintiff.

Roberts v. Florida Power & Light Co., 146 F.3d 1305, 1307 (11th Cir. 1998).

      Despite this low threshold, under the Supreme Court’s most recent

formulation of the standard to be applied to a Rule 12(b)(6) motion, a plaintiff’s

complaint may not merely contain “a formulaic recitation of the elements of a

cause of action....” Twombly, 550 U.S. at 545. Rather, the “[f]actual allegations

must be enough to raise a right to relief above the speculative level.” Id. The Court

instructed, however, that the rule “does not impose a probability requirement at the

pleading stage,” but instead “simply calls for enough fact to raise a reasonable

expectation that discovery will reveal evidence of” the necessary elements. Id.

Thus, to survive a motion to dismiss, it is “necessary that a complaint contain

either direct or inferential allegations respecting all the material elements necessary

to sustain a recovery under some viable legal theory.” Financial Sec. Assur., Inc. v.

Stephens, Inc., 500 F.3d 1276, 1282-1283 (11th Cir. 2007).

      The allegations in Defendant’s Counterclaim for Cancellation of Plaintiff’s

Registration on the bases of trademark abandonment and fraud on the USPTO

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more than meet the standards imposed by Twombly. The Counterclaim does not

merely contain a formulaic recitation of the elements needed to state each claim

asserted by Defendant, but also includes supporting factual allegations about

Plaintiff’s conduct giving rise to trademark abandonment and fraudulent

procurement of the Registration. See, e.g., Counterclaim ¶¶ 9-40. For instance, the

Counterclaim describes the trademark abandonment and fraudulent procurement

and includes factual allegations about the time and scope of Plaintiff’s business

operations (Counterclaim ¶ 25), and lack thereof with use of the Sama Mark

(Counterclaim ¶¶ 26-38), and the duration and extent of the nonuse (Counterclaim

¶¶ 39-40). It cannot credibly be argued that the Counterclaim does not give

Plaintiff sufficient notice of the claims being asserted against it and the lack of use

in which is it alleged to have engaged. The allegations also raise a reasonable

expectation that discovery will reveal more evidence of Plaintiff’s abandonment

and intent to not resume use as well as more details of the fraud against the

USPTO. As such, Defendant has met the pleading threshold imposed by Rule

8(a)(2).

      Defendant properly and adequately pled the claim for trademark cancellation

by proving its standing to petition for said cancellation since it was damaged

commercially when its trademark application for the Sama Mark was rejected by

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the USPTO due to Plaintiff’s Registration. Secondly, Defendant properly plead

valid grounds for the trademark cancellation which is based on abandonment and

fraudulent procurement of the Sama Mark by Plaintiff as more fully discussed

below.

     A.      Trademark Abandonment.

      Abandonment is one of the statutory grounds for cancellation of a trademark

registration, § 14(3) of the Trademark Act, 15 U.S.C. § 1064(3). See Shutemdown

Sports, Inc. v. Carl Dean Lacy, 102 U.S.P.Q.2d 1036 (T.T.A.B. 2012). Under the

Lanham Act, 15 U.S.C. §§ 1051–1141, a trademark is deemed abandoned “[w]hen

its use has been discontinued with intent not to resume such use.” Id. § 1127. To

prove abandonment of a trademark a defendant must establish two elements: “[1]

that the plaintiff has ceased using the mark in dispute and [2] that he has done so

with an intent not to resume its use.” Cumulus Media, Inc. v. Clear Channel

Commc’ns, Inc., 304 F.3d 1167, 1174 (11th Cir. 2002).

      For the purposes of the Lanham Act, “use” is defined as “the bona fide use

of such mark made in the ordinary course of trade, and not made merely to reserve

a right in a mark.” 15 U.S.C. § 1127. “Thus, neither promotional use of the mark

on goods in a different course of trade nor mere token use constitute ‘use’ under

the Lanham Act.” Emergency One, Inc. v. Am. FireEagle, Ltd., 228 F.3d 531, 536

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(4th Cir. 2000) (citing Imperial Tobacco, Ltd. v. Phillip Morris, Inc., 899 F.2d

1575, 1592–83 (Fed. Cir. 1990)). Further, an intent not to resume use of a

trademark “may be inferred from the circumstances.” 15 U.S.C. § 1127

(emphasis added). See Imperial Tobacco Ltd. v. Philip Morris Inc., 899 F.2d 1575,

14 USPQ2d 1390, 1395 (Fed. Cir. 1990)(abandonment found where mark had

never been used); and The Procter & Gamble Co. v. Sentry Chemical Co., 22

USPQ2d 1589, 1592, (TTAB 1992)(abandonment may be established by proving

that a registrant is not using or has never used its mark on certain goods)(emphasis

added). See Shutemdown Sports, Inc. v. Carl Dean Lacy, 102 U.S.P.Q.2d 1036

(T.T.A.B. 2012).

      Plaintiff contends the allegations in Defendant’s Counterclaim do not meet

the pleading requirements of Rule 8 and therefore, Defendant has failed to state a

claim of abandonment. But Defendant’s counterclaim shows otherwise. Defendant

alleges that at the time of its “Sama Worldwide Application,” upon information

and belief, Plaintiff was no longer active and/or conducting any business or making

use of the Plaintiff’s Registration or the Sama Mark. Defendant specifically alleged

that as of August 26, 2019, Plaintiff was no longer an existing Georgia limited

liability company and proved this with true and correct copies of the Georgia

Secretary of State filings for corporate dissolution.

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      And contrary to Plaintiff’s inaccurate assertions that Defendant failed to

even specify what goods and/or services Plaintiff allegedly abandoned, Defendant

specifically alleged Plaintiff “has never used, is not currently using, and has no

intent to use or resume using the Sama Mark as shown in the Registration” for the

goods and/or services in Intl. Classes 3, 5, 29, 30, 32, 43, and 44. Defendant also

alleged Plaintiff discontinued and abandoned the Sama Mark at least as early as

August 2019. Additionally, Defendant specified that for at least three consecutive

years, Plaintiff has not used the Sama Mark in connection with the list of goods

and services identified in Plaintiff’s Registration, thereby constituting prima facie

evidence of abandonment of the Sama Mark as shown in the Plaintiff’s

Registration and pursuant to 15 U.S.C. § 1127.

      These factual allegations allow for the inference that Plaintiff had no intent

to resume use of the Sama Mark for several its goods and/or services listed in the

Plaintiff’s Registration. As previously indicated, an intent not to resume use of a

trademark “may be inferred from the circumstances.” 15 U.S.C. § 1127

(emphasis added). In other words, given Plaintiff’s own corporate dissolution,

Plaintiff could not have “used” the Sama Mark as contemplated by the Lanham Act

for the duration of that entire almost two-year period. Similarly, given Plaintiff has

not been operating out of its brick-and-mortar location since July 2021, the

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circumstances lead to the inference that Plaintiff has abandoned the Sama Mark

since it could not have been using it for the classes of goods and services under its

Registration without an operating location to carry out its business practices.

      Further Plaintiff’s arguments in favor of dismissal such as attacking the

strength of the Defendant’s evidence of corporate dissolution allegations attempt to

strike at the truth of Defendant’s allegations, which should be an issue for

summary judgment. See Meth Lab Cleanup, LLC v. Spaulding Decon, LLC, No.

8:10-CV-2550-T-30TGW, at *2 (M.D. Fla. 2011). But these attacks are

insufficient to defeat Defendant’s counterclaim on a motion to dismiss. As such,

this Court should deny Plaintiff’s Motion by holding that Defendant has

sufficiently pled the elements of abandonment.

     B.      Fraud on the USPTO

      “Fraud in obtaining a trademark occurs ‘when an applicant knowingly

makes false, material representations of fact in connection with an application’ or

in a verified declaration.” Spiral Direct, Inc., 151 F. Supp. 3d at 1277 (quoting

Traffic Control, Inc. v. Shadow Network Inc., 104 F.3d 336, 340 (Fed. Cir. 1997)).

A third party may petition to cancel a registered service mark on the grounds that

the registration was obtained fraudulently. Metro Traffic Control, Inc. v. Shadow

Network Inc., 104 F.3d 336, 340 (Fed.Cir.1997) (citing Torres v. Cantine

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Torresella S.r.l., 808 F.2d 46, 47–48, 1 USPQ2d 1483, 1483–84 (Fed.Cir.1986)).

Fraud in procuring a service mark occurs when an applicant knowingly makes

false, material representations of fact in connection with an application. Id. “‘[T]he

obligation which the Lanham Act imposes on an applicant is that he will not make

knowingly inaccurate or knowingly misleading statements in the verified

declaration forming a part of the application for registration.’“ Id at 48 (quoting

Bart Schwartz Int’l Textiles Ltd. v. Federal Trade Comm’n, 48 C.C.P.A. 933, 289

F.2d 665, 669, 129 USPQ 258, 260 (1961) (emphasis in original) (citing Meth Lab

Cleanup, LLC v. Spaulding Decon, LLC, No. 8:10-CV-2550-T-30TGW, 2011 at *2

(M.D. Fla. 2011)).

      Under Federal Rule of Civil Procedure 9(b), a complaint alleging fraud must

set forth “(1) precisely what statements were made, (2) the time and place of each

statement and the person responsible for the same, (3) the content of such

statements and how they misled the plaintiff, and (4) what the defendants gained

through the fraud.” Id. (citing Ziemba v. Cascade Int’l, Inc., 256 F.3d 1194, 1202

(11th Cir. 2001)). Plaintiff argues that Defendant has failed to meet Rule 9(b)’s

requirements.

      Defendant’s fraud allegations rest on the representations Plaintiff made to

the USPTO in its trademark application for the Sama Mark and the subsequent

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filing of its statement of use. See Counterclaim at ¶¶ 37-41. Plaintiff made a

declaration that it had an intent to use the Sama Mark in connection with the

laundry list of goods and services it listed in its July 2016 application. Plaintiff

then made a declaration it was using the Sama Mark in connection with the full

suite of goods and services in its subsequent August 2017 statement of use for Intl.

Classes 3, 5, 29, 30, 32, 43, and 44. Upon information and belief, Plaintiff has

failed to use the Sama Mark in connection with some or all of the goods and

services that fall under the Intl. Classes 3, 5, 29, 30, 32, 43, and 44 for which it was

granted trademark rights. It can be inferred from the Plaintiff’s Registration that

the USPTO relied on the statements made by Plaintiff. Under that same logic, it is

obvious that Plaintiff precisely achieved its goal when it completed the USPTO

Application and statement of use which resulted in Registration of the Sama Mark

which comes with all the benefits and protections inured to a trademark owner.

      In sum, Defendant properly pled the elements of fraud by showing that (1)

the statements made by Plaintiff were the declarations in its trademark application

and subsequent statement of use for the Sama Mark; (2) the time and place is stated

by Defendant in the Counterclaim as it says “at the time of filing the application”

and “within the period of time for filing a statement of use”; (3) the content of such

statements is that Plaintiff declared it had an intent to use and later on was using all

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the goods and services under the above listed International Classes which the

USPTO relied on to grant the application for the Registration of the Sama Mark;

and lastly, (4) Plaintiff gained the federal protections and rights that come with a

USPTO trademark Registration due to its misrepresentations to the USPTO.

      While intent is necessary to prove fraud, it can be inferred from

circumstances, and it is too early to dismiss this claim at this stage as Plaintiff’s

intentions regarding the use of the trademark will be fleshed out in discovery. See

ASC Const. Equip. USA, Inc. v. City Com. Real Est., Inc., 303 Ga. App. 309,

(2010)(Because fraud is inherently subtle, it may be proved by slight

circumstances, and whether a misrepresentation is fraudulent and intended to

deceive is generally a jury question. O.C.G.A. §§ 23–2–53, 51–6–2(a)); see also

Spiral Direct, Inc. v. Basic Sports Apparel, Inc., 151 F. Supp. 3d 1268, 1277 (M.D.

Fla. 2015)(The question of whether BSA’s misrepresentations were “fraudulent”

statements or merely “false” statements is a factual question that cannot be

resolved at this [motion to dismiss] stage) (citing Metro Traffic Control, 104 F.3d

at 340).

      Because Defendant has sufficiently pled fraud under Rule 9(b), the

counterclaim for cancellation of Plaintiff’s Registration deserves to survive, and

this Court should deny Plaintiff’s Motion. As with the Defendant’s abandonment

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   claim, if the facts produced in discovery fail to support it, then Plaintiff will have

   the ability and right to move for summary judgment.

 II.     Defendant’s Counterclaim for Attorney’s Fees Survives Plaintiff’s
         Motion to Dismiss.

         Because Defendant has shown that its counterclaim for cancellation of the

   Plaintiff’s trademark has merit, Defendant’s ancillary claim for attorney’s fees

   under O.C.G.A § 13-6-11 likewise has merit and should survive dismissal at this

   stage. The Court should deny the Motion to dismiss the attorney’s fees claim.

III.     Defendant Should be Granted an Opportunity to Amend the
         Counterclaim.

         If the Court determines for some reason that any part of Defendant Tea

   Worldwide’s allegations are insufficient to state a claim, then the Court should

   grant Tea Worldwide an opportunity to conduct discovery and then amend its

   Counterclaim once Plaintiff is forced to produce the information about its business

   dealings and its intentions that, to date, it has refused to voluntarily produce.

         Outside of the time for an amendment as a matter of course, “a party may

   amend its pleading only with the opposing party’s written consent or the court’s

   leave.” Fed. R. Civ. P. 15. Rule 15 provides that a district “court should freely

   give leave when justice so requires.” Id. While allowing an amendment is a

   discretionary decision, the Eleventh Circuit has explained that district courts


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should generally exercise their discretion in favor of allowing amendments to reach

the merits of a dispute. See Shipner v. E. Air Lines, Inc., 868 F.2d 401, 406–07

(11th Cir. 1989)(explaining that Rule 15’s policy of “liberally permitting

amendments to facilitate [the] determination of claims on the merits circumscribes

the exercise of the district court’s discretion”). Leave to amend should be “freely

given when justice so requires” unless there is an “apparent or declared reason” to

deny it such as “undue prejudice to the opposing party.” Foman v. Davis, 371 U.S.

178, 182, 83 S.Ct. 227 (1962); Garfield v. NDC Health Corp., 466 F.3d 1255, 1270

(11th Cir. 2006); citing Pinnacle Advert. & Mktg. Grp., Inc. v. Pinnacle Advert. &

Mktg. Grp., LLC, 7 F.4th 989, 1000 (11th Cir. 2021).

      Plaintiff will not be prejudiced by Defendant’s amendment of its

Counterclaim because Plaintiff already has the obligation of proving its trademark

infringement claim, which overlaps and includes its obligation to defeat

Defendant’s abandonment defense. See Pinnacle Advert., 7 F.4th at 998 (11th Cir.

2021)(where the court held that the plaintiff was not unduly prejudiced by the

defendant’s amendment of its cancellation counterclaim because the plaintiff

received notice of the claim some three months earlier in the litigation and because

the plaintiff had sought summary judgment on the counterclaim, which revealed

the plaintiff was prepared to factually defend against the counterclaim).

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                                 CONCLUSION

      Plaintiff’s Motion to Dismiss is premature as the Parties have not even

begun discovery. To grant such a motion at this early of a stage would be unjust

and inefficient. Defendant respectfully requests this Court deny Plaintiff’s

premature Motion to dismiss. In the alternative, Defendant requests that the Court

grant it leave to amend its Counterclaim after the parties have exchanged

discovery.

      Respectfully submitted this 24th day of August, 2022.

                                           WEINBERG, WHEELER,
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    RULE 7.1D CERTIFICATE OF TYPE, FORMAT, AND FONT SIZE

     Pursuant to Local Rule 7.1D of the United States District Court of the

Northern District of Georgia, the undersigned certifies that the foregoing

submission to the Court was computer-processed, double-spaced between lines,

and used Times New Roman font of 14-point size.


                                       /s/ Briana A. Burrows
                                       Briana A. Burrows




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                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing was electronically filed with the Clerk of

Court via CM/ECF, which will automatically serve the following counsel of

record:

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      This 24th day of August, 2022.


                                       WEINBERG, WHEELER,
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